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 3 (310) 277-8481
 4   Attorneys for Defendant
     LILIANA VALER
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 7
 8                         UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )               Case No. CR. S-03-0285 MCE
                                    )
12                  Plaintiff,      )
                                    )
13        v.                        )              STIPULATION AND
                                    )              [PROPOSED] ORDER
14   LILIANA VALER,                 )              VACATING AFFIDAVIT AND
                                    )              AUTHORIZING RECORDING OF
15                  Defendant.      )              RELEASE OF LIEN
                                    )
16                                  )
     ______________________________ )
17
18         Defendant LILIANA VALER, by and through her counsel of record, Bryan C.
19   Altman of Altman & Morris, and Plaintiff United States of America, through its
20   attorney, Assistant United States Daniel S. Linhardt, hereby agree and stipulate as
21   follows:
22         1.     By this stipulation, the parties agree that the surety should be authorized
23   to record any and all necessary instruments to nullify and render null and void the
24   short form deed of trust recorded in official records of Orange County under
25   Document No. 2003000765532 pursuant to which Myriam Valer-Davila irrevocably
26   granted, transferred and assigned to MFI Title Service the power of sale for that
27   property in Orange County whose common address is 4752 Donna Drive, La Palma,
28   California, being in the city of La Palma, County of Orange, Lot 8, Tract 6593, as per
                                               1
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 1   map recorded in Book 242, pages 43-44 miscellaneous maps, in the Office of the
 2   County Recorder of said county which had been posted as bond on behalf of Liliana
 3   Valer in this case; and
 4         2.     Defendant was sentenced in this matter on November 1, 2005, and,
 5   therefore, there is no need to maintain the bond in this matter.
 6         IT IS SO STIPULATED.
 7
 8                                          Respectfully submitted,
 9
10   DATED: November           , 2005                 By__________________________
                                                      Bryan C. Altman
11                                                    Attorneys for Defendant
                                                      LILIANA VALER
12
13   DATED: November           , 2005                 By __________________________
                                                      DANIEL S. LINHARDT
14                                                    Assistant United States Attorney
                                                      Attorneys for Plaintiff
15                                                    UNITED STATES OF AMERICA
16
17                                         ORDER
18         IT IS SO FOUND AND ORDERED this 17th of November, 2005.
19         Accordingly, the Clerk shall direct the release of the property posted as
20   bond by the surety in this case forthwith.
21
22
23
                                             __________________________________
24                                           _
25                                           MORRISON C. ENGLAND, JR
                                             UNITED STATES DISTRICT JUDGE
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